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UNITF.:u :STATES DISTRICT COURT
 SC\JTHERN DISTRICT OF CALIFORNIA

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                      Stephen Paul Collette
                      Stephen P Collette & Associates                NIXIE                900  DE 1       00 05/19/11
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